Case 2:09-cv-02336-BBD-tmp Document 18 Filed 06/14/10 Page 1 of 1   PageID 126



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                           WESTERN DIVISION
______________________________________________________________________

MCFADDEN COMMUNICATIONS, LLC,

                  Plaintiff,

v.                                             No.: 09-cv-2336

THE TRAVELERS INDEMNITY
COMPANY OF AMERICA,

                Defendant.
______________________________________________________________________

                   ORDER OF DISMISSAL WITH PREJUDICE
______________________________________________________________________

      It appears to the Court that the matters in controversy between

McFadden Communications, LLC, and The Travelers Indemnity Company of

America have been settled, and that the matters between them should be

dismissed with prejudice.

      IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the claims of

McFadden Communications, LLC, against The Travelers Indemnity Company of

America are hereby dismissed with prejudice.         This Order of Dismissal

with Prejudice shall apply to all claims and causes of action asserted

in the Plaintiff’s Complaint as well as any other claims or causes of

action of Plaintiff against The Travelers Indemnity Company of America,

whether asserted in this lawsuit or not, which in any way relate to,

arise from or in any way involve any of the allegations made by Plaintiff

in this lawsuit.     Plaintiff shall be responsible for any outstanding

court costs in this cause.


                               s/Bernice Bouie Donald
                               JUDGE

                               DATE: June 14, 2010
